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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                  CRIMINAL MINUTES - GENERAL

                                                        UNDER SEAL MINUTES


 Case No.         CR 17-00697 SJO                                                                        Date    March 5, 2019


 Present: The Honorable        S. James Otero

 Interpreter       Not Required

                Victor Cruz                                Not Present                                      Catherine Sun Ahn
                Deputy Clerk                    Court Reporter/Recorder, Tape No.                         Assistant U.S. Attorney



                U.S.A. v. Defendant(s):               Present Cust. Bond               Attorneys for Defendants:         Present App. Ret.

(# 1) Daniel Flint                                      not              xx       Craig A. Harbaugh                           not   xx



 Proceedings:        IN CHAMBERS

The Court sets the following briefing schedule re Defendant’s MOTION for Acquittal [ECF No.
140]. Opposition due: March 13 at 9 AM; Reply due: March 18 at 9 AM.




                                                                                                                          :

                                                                              Initials of Deputy Clerk     vpc




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